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IN THE UNITED STATES DISTRICT couRT 20/9 AUG 22 PN |: 12
FOR THE SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION ~ tie.

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UNITED STATES OF AMERICA ail ve

Vv. CR. LOT=1L67=1

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JACOB ASHER PLOWRIGHT

ORDER

On July 30, 2019, the Court directed Defendant Jacob Asher
Plowright that to the extent he wished to challenge his conviction

under the recent decision of United States v. Davis, --- U.S. ---,

 

139 S. Ct. 2319 (Jun. 24, 2019), he must petition the Eleventh
Circuit Court of Appeals for an order authorizing this Court to
consider a second or successive motion under 28 U.S.C. § 2255. (See
Order of July 30, 2019, Doc. 360.) This Court does not have
jurisdiction to address Defendant’s motion for relief under Davis
without such authorization. (Id.)

On August 16, 2019, Defendant filed a “Motion to Relate Back
Claim to Timely Filed 2255 Proceeding Dated May 5, 2011 and Motion
for Appointment of Counsel.” He also included his proposed Amended
Petition for § 2255 relief. Defendant is trying to circumvent the
Court’s directive and the second or successive petition restriction
by delineating his Davis claim as a claim that relates back to a

prior claim challenging his conviction. He simply states that his

Davis claim is “‘tied’ to the same core of operative facts as to

 
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whether brandishing a firearm conviction constitute[s] a crime of
violence under 924(c) (3) (A).” (Def.’s Mot., Doc. 361, @ 6.)

The premise of Defendant’s motion, that his Davis claim relates
back to his previously filed § 2255, is erroneous. In his original
§ 2255 petition, Defendant raised two grounds for relief: 1)
ineffective assistance of counsel, and 2) the validity of sentencing
him as a “repeat offender” under 18 U.S.C. § 924(c)(1)(C).1 (See
Report and Recommendation of March 1, 2012, Doc. No. 273.) Defendant
did not challenge the legality of his convictions based upon the
vagueness of the residual clause of 18 U.S.C § 924(c) (3) (B), which
is the essence of a Davis claim. Accordingly, Defendant’s Davis
claim does not relate back to either claim in his original § 2255
petition, and his attempt to amend the original § 2255 is
impermissible. See Mayle v. Felix, 545 U.S. 644, 650 (2005) (holding
that “an amended habeas petition . . . does not relate back
when it asserts a new ground for relief supported by facts that
differ in both time and type from those the original pleading set
forth”).

The Court reiterates that Defendant’s Davis claim cannot be
considered unless and until he receives authorization from the

Eleventh Circuit Court of Appeals to file a successive § 2255 motion.

 

1 Defendant’s second § 2255 motion, seeking retroactive application
of Alleyne v. United States, 570 U.S. 99 (2013), was dismissed as
second or successive.

 
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Accordingly, his motion to amend his prior § 2255 petition (doc. no.
361) is DENIED.?2
ORDER ENTERED at Augusta, Georgia, this 2294 day of August,

2019.

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2 To the extent that Defendant seeks the appointment of counsel
through his present motion, the Court notes that a habeas petitioner
has no absolute constitutional right to counsel. Henderson v.
Campbell, 353 F.3d 880, 892 (11th Cir. 2003) (held in the context of
a habeas proceeding under 28 U.S.C. § 2254). Rather, a court may
appoint counsel only if the interests of justice so require. 28
U.S.C. § 2255(g) (incorporating by reference the standards of 18
U.S.C. § 3006A(a) (2) (B) for the appointment of counsel); see McCall
v. Cook, 495 F. App’x 29, 31 (11th Cir. 2012) (stating that civil
litigants, even prisoners, have no constitutional right to counsel;
rather, appointment of counsel in civil cases is “a privilege that
is justified only by exceptional circumstances” (quoted source
omitted)). Here, Defendant has not shown that the interests of
justice compel the appointment of an attorney.

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